                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 1 of 15 Page ID
                                                  #:56485

             1      JOSHUA H. LERNER, SBN 220755
                      Joshua.lerner@wilmerhale.com
             2      WILMER CUTLER PICKERING
                      HALE AND DORR LLP
             3      1 Front Street, Ste. 3500
                    San Francisco, CA 94111
             4      Tel.: 628.235.1124 / Fax: 628.235.1001
             5      H. MARK LYON, SBN 162061
                      mlyon@gibsondunn.com
             6      GIBSON, DUNN & CRUTCHER LLP
                    1881 Page Mill Road
             7      Palo Alto, CA 94304-1211
                    Tel.: 650.849.5300 / Fax: 650.849.5333
             8
                    BRIAN M. BUROKER, pro hac vice
             9        bburoker@gibsondunn.com
                    GIBSON, DUNN & CRUTCHER LLP
           10       1050 Connecticut Avenue, N.W.
                    Washington, D.C. 20036
           11       Tel.: 202.955.8500 / Fax: 202.467.0539
           12       [Counsel appearance continues on next page]
           13       Attorneys for Defendant Apple Inc.
           14                       UNITED STATES DISTRICT COURT
           15             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           16
                    MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           17       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                  APPLE’S SUPPLEMENTAL
           18       a Delaware corporation,                       MEMORANDUM IN SUPPORT OF
                                                                  ITS MOTION TO CLARIFY OR
           19                          Plaintiffs,                RECONSIDER ORDER REGARDING
                                                                  PLAINTIFFS’ MOTION TO MODIFY
           20             v.                                      TRADE SECRET DISCLOSURE
                                                                  (DKT. 669)
           21       APPLE INC.,
                    a California corporation,
                                                                  Date: July 11, 2022
           22
                                       Defendant.                 Time: 1:30pm
           23                                                     Discovery Cut-Off: August 12, 2022
                                                                  Pre-Trial Conference: March 13, 2023
           24
                                                                  Trial: March 28, 2023
           25
           26            REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL

           27
           28
                    APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Wilmer Cutler
                                                                         CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 2 of 15 Page ID
                                                  #:56486

             1      BRIAN A. ROSENTHAL, pro hac vice
                     brosenthal@gibsondunn.com
             2      GIBSON, DUNN & CRUTCHER LLP
                    200 Park Avenue
             3      New York, NY 10166-0193
                    Tel.: 212.351.2339 / Fax: 212.817.9539
             4
                    ILISSA SAMPLIN, SBN 314018
             5        isamplin@gibsondunn.com
                    GIBSON, DUNN & CRUTCHER LLP
             6      333 South Grand Avenue
                    Los Angeles, CA 90071-3197
             7      Tel.: 213.229.7000 / Fax: 213.229.7520
             8      ANGELIQUE KAOUNIS, SBN 209833
                     akaounis@gibsondunn.com
             9      GIBSON, DUNN & CRUTCHER LLP
                    2029 Century Park East Suite 4000
           10       Los Angeles, CA 90067
                    Tel.: 310.552.8546 / Fax: 310.552.7026
           11
                    KENNETH G. PARKER, SBN 182911
           12        Ken.parker@haynesboone.com
                    HAYNES AND BOONE, LLP
           13       660 Anton Boulevard Suite 700
                    Costa Mesa, CA 92626
           14       Tel. 650.949.3014 / Fax: 949.202.3001
           15       MARK D. SELWYN, SBN 244180
                     mark.selwyn@wilmerhale.com
           16       WILMER CUTLER PICKERING
                     HALE AND DORR LLP
           17       2600 El Camino Real, Suite 400
                    Palo Alto, CA 94306
           18       Tel.: 650.858.6000 / Fax: 650.858.6100
           19       NORA Q.E. PASSAMANECK, pro hac vice
                     nora.passamaneck@wilmerhale.com
           20       WILMER CUTLER PICKERING
                     HALE AND DORR LLP
           21       1225 Seventeenth St., Suite 2600
                    Denver, CO 80202
           22       Tel: 720.274.3152 / Fax: 720.273.3133
           23
           24
           25
           26
           27
           28
                    APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Wilmer Cutler
                                                                         CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 3 of 15 Page ID
                                                  #:56487

             1
             2                                                TABLE OF CONTENTS
             3      I.     Introduction .......................................................................................................... 1
             4      II.    Background ........................................................................................................... 1
             5      III.   Argument .............................................................................................................. 4
             6             A.       Plaintiffs Have Not Shown That The Five Disputed Items Fall
                                    Within The Original Scope Of Purported Trade Secrets D.1-D.5 ............. 4
             7
                           B.       Plaintiffs Have Not Met Their Burden To Show The Five Disputed
             8                      Items Should Be Added To The Case At This Late Stage......................... 7
             9             C.       Plaintiffs’ Remaining Arguments Are Meritless ....................................... 9
           10       IV.    Conclusion .......................................................................................................... 10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
                     APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Pickering Hale
and Dorr LLP
                                                               i          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 4 of 15 Page ID
                                                  #:56488

             1                                           TABLE OF AUTHORITIES
             2
                                                                                                                               Page(s)
             3      CASES
             4      Crescenta Valley Water District v. Exxon Mobil Corp.,
             5            2013 WL 12095206 (C.D. Cal. June 24, 2013)............................................... 8
             6      Etagz, Inc. v. Quiksilver, Inc.,
                          2012 WL 2581256 (C.D. Cal. July 3, 2012) ................................................... 8
             7
             8      Lanard Toys Ltd. v. Novelty, Inc.,
                         375 F. App’x 705 (9th Cir. 2010) .................................................................... 7
             9
                    Precision Fabrics Group, Inc. v. Tietex International, Ltd.,
           10
                          297 F. Supp. 3d 547 (D.S.C. 2018) ................................................................. 8
           11
                    Torres v. City of Los Angeles,
           12             548 F.3d 1197 (9th Cir. 2008) ......................................................................... 7
           13
                    Yeti by Molly Ltd v. Deckers Outdoor Corp.,
           14              259 F.3d 1101 (9th Cir. 2001) ......................................................................... 7
           15       STATUTES, RULES, AND REGULATIONS
           16
                    Federal Rule of Civil Procedure 26(e) ............................................................... 1, 7, 8
           17
                    Federal Rule of Civil Procedure 37(c) ............................................................... 1, 7, 8
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
                     APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Pickering Hale
and Dorr LLP
                                                              ii          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 5 of 15 Page ID
                                                  #:56489

             1                                        I.     INTRODUCTION
             2               Plaintiffs’ supplemental brief confirms that they are using what they initially
             3      presented as
             4                                                              Dkt. 815 at 4. While Plaintiffs have
             5      (rightly) declined to justify their eleventh-hour attempt to sweep in four new applications
             6      (                                                          ), they continue to push for the
             7      inclusion of four other categories of applications/software (
             8                                ) and portions of a fifth (                  ). Tellingly, however,
             9      Plaintiffs have not identified any significant evidence establishing that these items were
           10
           11                                                                                                 Id.
           12       at 5. Nor have Plaintiffs explained why it is “permissible” “to add them now” “under
           13       Rules 26(e)(1) and 37(c)(1).” Id. at 6 n.3.
           14                Apple respectfully requests that this Court narrow the applications at issue for
           15       purposes of purported trade secrets D.1-D.5 to include only those agreed upon in the
           16       Joint Report, Dkt. No. 833-2.
           17                                          II.    BACKGROUND
           18                On April 14, 2020, Apple served Interrogatory No. 10, which asked Plaintiffs to
           19       explain how Apple has purportedly used or disclosed each alleged trade secret. Dkt.
           20       759-4 at 12-13.
           21
           22
           23                     Plaintiffs did not further supplement this response for another 18 months.
           24                Plaintiffs later moved to amend their Section 2019.20 trade secret Disclosure
           25
           26
           27
           28

Wilmer Cutler
                        APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Pickering Hale
and Dorr LLP
                                                                  1          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 6 of 15 Page ID
                                                  #:56490

             1
             2
             3
             4
             5                                                                                             On
             6      Wednesday, July 6, 2022, the Court deferred ruling on Apple’s Motion and ordered the
             7      parties to (1) meet and confer by July 13, (2) file a joint report by July 20 setting forth
             8      the applications on which they agree reasonably fall within the original scope of D.1-
             9      D.5, and (3) file supplemental briefing on remaining disagreements. Dkt. 815 at 6.
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
                    1
           27
           28

Wilmer Cutler
                        APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Pickering Hale
and Dorr LLP
                                                                  2          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 7 of 15 Page ID
                                                  #:56491

             1
             2
             3
             4
             5
             6
             7
             8
             9
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24             This Court granted the stipulation on July 21, Dkt. 838, and Plaintiffs filed a
           25       revised supplemental brief on July 22, Dkt. 846-1. (All references to Plaintiffs’ brief are
           26       in reference to the revised supplemental brief.)
           27
           28

Wilmer Cutler
                     APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Pickering Hale
and Dorr LLP
                                                               3          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 8 of 15 Page ID
                                                  #:56492

             1                                       III.   ARGUMENT
             2            A.     Plaintiffs Have Not Shown That The Five Disputed Items Fall Within
             3                   The Original Scope Of Purported Trade Secrets D.1-D.5
             4            This Court’s July 6 order instructed Plaintiffs to “explain how [the disputed]
             5      applications were included in the original scope of TS D.1-D.5, providing relevant
             6      record and/or discovery citations.” Dkt. 815 at 6. Plaintiffs’ response, however, relies
             7
             8
             9                                               Id. at 5. The very limited new material they
           10       identify does not change the calculus, and Plaintiffs fail to answer a basic question:
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
                    APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Pickering Hale
and Dorr LLP
                                                              4          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 9 of 15 Page ID
                                                  #:56493

             1
             2
             3
             4
             5
             6
             7
             8                              The only new piece of evidence Plaintiffs identify (Opp. at 4) to
             9      show that Apple was on notice is
           10
           11                                                          The remaining documents fall into three
           12       categories.
           13
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23                                Plaintiffs root their argument that Apple was on notice on the fact
           24       that they
           25
           26
                    2
                        To the extent that Plaintiffs quote this language
           27
           28

Wilmer Cutler
                        APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Pickering Hale
and Dorr LLP
                                                                  5          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 10 of 15 Page ID
                                                   #:56494

             1
             2
             3
             4
             5
             6
             7
             8
             9
           10
           11
           12
           13
           14
           15
           16
           17                                 Again, Plaintiffs have no answer.
           18             Finally, Plaintiffs allege that
           19
           20
           21
           22
           23
           24
           25                       Plaintiffs do not identify any record or discovery citations supporting
           26       their argument that
           27
           28

Wilmer Cutler
                     APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Pickering Hale
and Dorr LLP
                                                               6          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 11 of 15 Page ID
                                                   #:56495

             1            B.      Plaintiffs Have Not Met Their Burden To Show The Five Disputed
             2                    Items Should Be Added To The Case At This Late Stage
             3            Because Plaintiffs have not shown that the five disputed categories of
             4      applications/software fell within the original scope of the D.1-D.5, they can only be
             5      added now if doing so is “permissible under Rules 26(e)(1) and 37(c)(1).” Dkt. 815 at
             6      6 n.3. Rule 26(e)(1) requires a party to supplement its interrogatory response “in a timely
             7      manner if the party learns that” the response is “incomplete or incorrect.” Rule 37(c)(1)
             8      imposes a “self-executing” and “automatic” punishment for failure to comply with
             9      26(e)(1): It precludes later use of the untimely disclosed information or argument. Yeti
           10       by Molly Ltd v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001). “In
           11       determining whether this sanction should be imposed, the burden is on the party facing
           12       the sanction … to demonstrate that the failure to comply with Rule 26[] is substantially
           13       justified or harmless.” Torres v. City of L.A., 548 F.3d 1197, 1213 (9th Cir. 2008)
           14       (emphasis added). In other words, the injured party is “not required to articulate how
           15       they would be prejudiced by … failure to provide” the missing information. Id.; see also
           16       Yeti, 259 F.3d at 1107 (rejecting argument that “burden of proving harm is on the party
           17       seeking sanctions”).
           18             Plaintiffs do not even acknowledge their burden, much less meet it. Instead, they
           19       wrongly imply that Apple must “satisfy” a four-part test laid out in an unpublished Ninth
           20       Circuit decision in order to prevail. Opp. 9, 10 n.4 (citing Lanard Toys Ltd. v. Novelty,
           21       Inc., 375 F. App’x 705, 713 (9th Cir. 2010)). Lanard was simply identifying factors a
           22       district court can consider in addressing whether the party that has withheld evidence
           23       satisfies the “substantially justified or harmless” test. 375 F. App’x at 713 (“The burden
           24       is on the party facing exclusion of its [evidence] to prove the delay was justified or
           25       harmless”).
           26             Plaintiffs also argue that Apple was not prejudiced by
           27                  because they occurred well before trial, three months prior to the close of fact
           28

Wilmer Cutler
                     APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Pickering Hale
and Dorr LLP
                                                               7          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 12 of 15 Page ID
                                                   #:56496

             1      discovery and “before the deadlines to serve written discovery.” Opp. 9, 10. The last
             2      argument is particularly specious, as Plaintiffs served           the evening of May 12,
             3      2022 and the deadline to serve interrogatories and RFPs was May 13, 2022. Dkt. 627.
             4      The twenty-four-hour window Plaintiffs gave Apple (with no prior notice) to review
             5           and craft written discovery in response is self-evidently insufficient. Had Plaintiffs
             6      “amended [their] discovery response[s] in a timely manner, [Apple] might have changed
             7      its discovery strategy.” Etagz, Inc. v. Quiksilver, Inc., 2012 WL 2581256, at *2 (C.D.
             8      Cal. July 3, 2012). More broadly, Plaintiffs’ dramatic expansion of their case has forced
             9      Apple to designate new 30(b)(6) witnesses, see supra pp. 5-6, supplement interrogatory
           10       responses, and rethink damages strategies—all while conducting depositions and
           11       preparing experts on the issues on which Plaintiffs did provide proper notice. In short,
           12       the “conclusory assertion that Defendant has plenty of time before discovery expires” is
           13       not sufficient to show harmlessness. See Etagz, 2012 WL 2581256, at *2.
           14             Plaintiffs relatedly contend that their untimeliness can be excused because other
           15       parties have served supplemental responses even closer to the fact discovery deadline
           16       without being sanctioned under Rule 37(c)(1). Opp. 9. But the two cases they cite both
           17       involved situations where the party that did not actually receive discovery information
           18       in a timely fashion was at least on notice about its existence. See Precision Fabrics
           19       Grp., Inc. v. Tietex Int’l, Ltd., 297 F. Supp. 3d 547, 557-558 (D.S.C. 2018) (“PFG had
           20       been aware of Tietex’s intention to introduce this specific evidence for well over two
           21       years.”); Crescenta Valley Water Dist. v. Exxon Mobil Corp., 2013 WL 12095206, at *2
           22       (C.D. Cal. June 24, 2013) (no Rule 26(e) violation where defendants were given
           23       underlying information disclosed in supplemental response over a year before discovery
           24       cut-off).
           25             Plaintiffs also argue that because Apple produced a substantial amount of
           26       documents after November 2021, it cannot complain that                was served in May
           27       2022. Opp. 9-10. But Plaintiffs do not explain why that matters to this particular motion
           28

Wilmer Cutler
                     APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Pickering Hale
and Dorr LLP
                                                               8          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 13 of 15 Page ID
                                                   #:56497

             1      (for example, they do not identify documents that they relied upon for             that were
             2      not produced until recently).
             3               Finally, Plaintiffs contend that they should not be punished via the exclusion of
             4      evidence because they “always acted in good faith” and “disclosed [their] contentions
             5      long ago.” Opp. 10. But neither point, even assuming them to be true, establishes that
             6      Plaintiffs were substantially justified by waiting until May 12, 2022 to
             7                                       Indeed, Plaintiffs provide no explanation for their extreme
             8      delay in providing an adequate response to Interrogatory No. 10.
             9               C.     Plaintiffs’ Remaining Arguments Are Meritless
           10                Because Plaintiffs have failed to show either that (1) they put Apple on notice that
           11
           12                                                             earlier was harmless or substantially
           13       justified, this Court need not address what Plaintiffs label Apple’s “new arguments.”
           14       See Opp. 5-8. Still, Apple briefly responds to each point for the sake of completeness.3
           15                First, Plaintiffs claim that Apple has never before
           16
           17
           18
           19
           20
           21                                                            Dkt. 767 at 9; see also id. at 4. 4 And
           22       when Apple put
           23
           24
           25
                    3
                        To the extent these arguments
           26
           27       4

           28

Wilmer Cutler
                        APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Pickering Hale
and Dorr LLP
                                                                  9          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 14 of 15 Page ID
                                                   #:56498

             1
             2
             3
             4            Second, Plaintiffs contend that Apple has not explained why
             5
             6      Opp. 8. But that flips the burdens set by this Court and the law on their head. See supra
             7      pp. 3, 7-8. Regardless, Plaintiffs’ own briefing shows that Apple did explain its position:
             8      The operative, Fourth Amended Complaint limits
             9
           10                             Dkt. 296-1 ¶ 43.1; see also Opp. 8 (making a version of this point).
           11       Apple’s position is that
           12
           13
           14
           15                                                                        Plaintiffs have failed to
           16       explain why they should not be held to the textual limitations of their alleged trade
           17       secrets nor do they contest that their approach would sweep
           18
           19                                                                      See Opp. 8.
           20             Third, Plaintiffs argue that Apple is required to explain why
           21                                                      Opp. 8. Again, this improperly places the
           22       burden on Apple. Regardless, Apple has explained why it was not on notice that
           23                                       Plaintiffs never suggested that it was prior to May 12,
           24       2022, even though Interrogatory No. 10
           25                                        IV.    CONCLUSION
           26             This Court should narrow the applications at issue for purposes of purported trade
           27       secrets D.1-D.5 to include only those agreed upon in the Joint Report, Dkt. No. 833-2.
           28

Wilmer Cutler
                     APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Pickering Hale
and Dorr LLP
                                                              10          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 872-2 Filed 07/27/22 Page 15 of 15 Page ID
                                                   #:56499

             1
             2      Dated: July 27, 2022                  Respectfully submitted,

             3                                            H. MARK LYON
             4                                            BRIAN M. BUROKER
                                                          BRIAN A. ROSENTHAL
             5                                            ILISSA SAMPLIN
             6                                            ANGELIQUE KAOUNIS
                                                          GIBSON, DUNN & CRUTCHER LLP
             7
             8                                            KENNETH G. PARKER
                                                          HAYNES AND BOONE, LLP
             9
           10                                             JOSHUA H. LERNER
                                                          MARK D. SELWYN
           11                                             NORA Q.E. PASSAMANECK
           12                                             WILMER CUTLER PICKERING HALE AND
                                                          DORR LLP
           13
           14
                                                          By: /s/ Mark D. Selwyn
           15                                                 Mark D. Selwyn
           16
           17                                             Attorneys for Defendant Apple Inc.
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
                     APPLE’S SUPP. MEMO ISO MOT. TO CLARIFY OR RECONSIDER ORDER REGARDING TS DISCLOSURE
Pickering Hale
and Dorr LLP
                                                              11          CASE NO. 8:20-cv-00048-JVS (JDEX)
